      Case 4:22-cv-00896 Document 12 Filed on 05/08/23 in TXSD Page 1 of 1
                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                              UNITED STATES DISTRICT COURT                       May 08, 2023
                               SOUTHERN DISTRICT OF TEXAS                     Nathan Ochsner, Clerk
                                   HOUSTON DIVISION


SUPERIOR CONSULTING GROUP, et al.,           §
                                             §
         Plaintiffs,                         §
                                             §
VS.                                          §   CIVIL ACTION NO. 4:22-CV-00896
                                             §
PHH MORTGAGE CORPORATION, et al.,            §
                                             §
         Defendants.                         §
                                             §
                                             §

                               FINAL SUMMARY JUDGMENT

       On this day, the Court considered defendant PHH Mortgage Corporation’s (“PHH”)

Motion for Summary Judgment (Doc. 7). Pursuant to its Memorandum and Order (Doc. 10), the

Court is of the opinion that the motion should be and hereby is GRANTED.

       IT IS, THEREFORE, ORDERED that the Motion for Summary Judgment is hereby

GRANTED in its entirety. It is further,

       ORDERED that all of the plaintiffs’ claims against PHH are hereby dismissed with

prejudice to the re-filing of same.

       SIGNED on May 8, 2023, at Houston, Texas.


                                                   _________________________________
                                                   Kenneth M. Hoyt
                                                   United States District Judge




1/1
